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12                           UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. 2:20-MJ-2910

15              Plaintiff,                    ORDER CONTINUING POST-INDICTMENT
                                              ARRAIGNMENT DATE FOR DEFENDANT
16                    v.                      JOSE LUIS HUIZAR
17   JOSE LUIS HUIZAR,                        NEW PIA DATE:              08/03/2020
18              Defendant.

19

20         Upon stipulation of the parties, the United States of America,
21   by and through its counsel of record, Assistant United States
22   Attorneys Mack E. Jenkins and Veronica Dragalin, and defendant, JOSE
23   LUIS HUIZAR, both individually and by and through his counsel of
24   record, Deputy Federal Public Defenders Charles Snyder and Carel Ale,
25   //
26   //
27   //
28   //
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 1   IT IS ORDERED THAT Post-Indictment Arraignment in the above-entitled

 2   case is continued to August 3, 2020 at 11:30 a.m.

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 4
      July 29, 2020
 5    DATE                                    HONORABLE PAUL L. ABRAMS
                                              UNITED STATES MAGISTRATE JUDGE
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